5/14/2020 ADP
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Pay Summary: 2020 - 49 - 4

Drago Fleet Period Beginning Date Pay Date Co. Clock Home Dept
4/26/2020 5/6/2020 DRG 001000

Jude A Romero Period Ending Date WGPS Advance Pay Date File # Number Worked in Dept
1126 South Hoyt Street 5/2/2020 000322 00190073 001000

Lakewood, CO 80232

Gross Pay $ 918.34
Regular Be Rate: 17.0000 - a Hours: 34.08 Se $579.36
Effeciency Bonus (field 3) ES $270.81
suet sme + et ; oe co Oo Co coe ‘gea7

Total Hours Worked: 34.08

Basis of Pay: HOURLY

Taxes $ 179.31
noosa come te pat ni = = oe nes e798
socil Secu So i i ie ini soe
hecheer ita oe nna ne eines

State Worked In: Colorado Code: CO $ 37.49

|| Deductions $ 37.69

SEN. DENTAL ne nnn te oe ois co coe co easy
Ga guaRD Ace INS. st ecu eee ets a ‘yeos
sit-cuaro an NS tenn . cs ee e383
veo. eDICAL cava cunt . coe . <>000
SHT - Short Trm Disb - $ 3.49

VIS - VISION $ 1.92

Take Home $ 701.34

CHECKING 1 $ 701.34

Other Details
Memos

Pto 22,34

Hours worked 34.08

https://workforcenow.adp.com/theme/admin.html#/People_ttd_PeopleTabPayProfile/PeopleTabPayProfile 41
5/14/2020

Pay Summary: 2020 - 20 - 4

Drago Fleet - Period Beginning Date Pay Date Co. Clock

' 5/3/2020 5/13/2020 DRG
Jude A Romero Period Ending Date WGPS Advance Pay Date ‘File # Number
1126 South Hoyt Street _ $/9/2020 000322 00200076

Lakewood, CO 80232

Gross Pay

Regular Rate: 17.0000 Hours: 35.35

Effeciency Bonus (field 3)
SHIFT DIFF 4 (field 3)
Total Hours Worked: 35.35

Basis of Pay: HOURLY

Taxes
Federal Income Tax
Social Security
Medicare

State Worked In: Colorado Code: CO

Deductions
DEN DENTAL Oe
Gal - GUARD ACC INS
oie cuaro ems ncn
MED - MEDICAL a
SHT - Short Tm Disb

VIS - VISION

Take Home

CHECKING 4

Other Details
Memos
Pto

Hours worked

https://workforcenow.adp.com/theme/admin.htmi#/People_ttd_PeopleTabPayProfile/People TabPayProfile

ADP
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Home Dept
001000

Worked In Dept
001000

$ 920.70
$ 600.95
§ 249.05

$ 70.70

$ 179.88
$74.27
$55.12

$12.89

$ 37.60

$ 37.69
$447
$ 5.28

$ 2.53

$ 20.00

§ 3.49

$ 1.92

$ 703.13

$ 703.13

23.75

35.35

1
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Case:20-14998-MER_Doc#:8_Filed:07/23/20 _ Entered:07/23/20 16:55:43 9 of 9

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